                                                                    Case 3:17-cv-02583-CAB-WVG Document 20 Filed 03/13/18 PageID.391 Page 1 of 3



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                                                                       9   Attorneys for Defendant Alpine Securities Corp.
                                                                      10
                                                                                              UNITED STATES DISTRICT COURT
                                                                      11
                                                                                           SOUTHERN DISTRICT OF CALIFORNIA
                                                                      12
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                                                                           PROBILITY MEDIA CORPORATION, a )              CASE NO. 17-CV-02583-CAB-
                           SANTA MONICA, CA 90401-1142




                                                                                                                    )
                                                                      14   Nevada corporation,                      )    WVG
                                                                                                                    )
                                                                      15                                            )    [Honorable Cathy Ann Bencivengo]
                                                                                             Plaintiff,
                                                                                                                    )
                                                                      16                                            )    DEFENDANT ALPINE
                                                                                 v.                                 )    SECURITIES
                                                                      17                                            )    CORPORATION’S NOTICE OF
                                                                                                                    )    MOTION AND MOTION TO
                                                                      18   LAWRENCE D. ISEN, an individual,         )    DISMISS COMPLAINT UNDER
                                                                           MESA STRATEGIES, INC., a Nevada )             RULE 12(B)(6)
                                                                      19   corporation, ALLAN J. LIGI, an           )
                                                                                                                    )    [PER CHAMBER RULES, NO
                                                                      20   individual, ALPINE SECURITIES            )    ORAL ARGUMENT UNLESS
                                                                           CORPORATION, a Utah corporation,         )    SEPARATELY ORDERED BY
                                                                      21                                                 THE COURT]
                                                                           FSC, LLC, a California limited liability )
                                                                                                                    )
                                                                      22   company, and DOES 1-10, inclusive.       )    Date: April 17, 2018
                                                                                                                    )    Place: 4C
                                                                      23                                            )
                                                                                             Defendants.                 [Filed Concurrently with Request for
                                                                                                                    )
                                                                      24                                            )    Judicial Notice]
                                                                      25

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                                                                                                                                           PRINTED ON RECYCLED PAPER
                                                                                  NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT UNDER RULE 12(B)(6)
                                                                    Case 3:17-cv-02583-CAB-WVG Document 20 Filed 03/13/18 PageID.392 Page 2 of 3



                                                                       1         TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
                                                                       2         PLEASE TAKE NOTICE THAT, on April 17, 2018 in Courtroom 4C of
                                                                       3   the United States District Court for the Southern District of California, Defendant
                                                                       4   Alpine Securities Corporation (“Alpine”) will and hereby does move the Court for
                                                                       5   an order dismissing it pursuant to Rule 12(b)(6) of the Federal Rules of Civil
                                                                       6   Procedure. There shall be no oral argument unless separately ordered by the Court.
                                                                       7         The Motion is brought on the grounds that the Complaint fails to state claims
                                                                       8   upon which relief can be granted against Alpine because: (a) under U.C.C. § 8-
                                                                       9   115, Alpine is immune from liability for claims in connection with its activities as
                                                                      10   a conduit for the transfer of securities on behalf of its customers; and (b) none of
                                                                      11   the three exceptions to the immunity protections of U.C.C. § 8-115 applies.
                                                                      12         The Motion is based on this Notice and Motion, the accompanying
                   TELEPHONE 310-899-3300; FACSIMILE 310-399-7201
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                                                                      13   Memorandum of Points and Authorities, the complaint and all exhibits thereto,
MURPHY ROSEN LLP
                           SANTA MONICA, CA 90401-1142




                                                                      14   such information as the Court may judicially notice, and such other materials and
                                                                      15   argument as may be presented to the Court prior to the determination of the
                                                                      16   Motion.
                                                                      17
                                                                           DATED: March 13, 2018            MURPHY ROSEN LLP
                                                                      18
                                                                                                            By:    /s/ Paul D. Murphy
                                                                      19                                    Paul D. Murphy
                                                                                                            Email: pmurphy@murphyrosen.com
                                                                      20                                    100 Wilshire Boulevard, Suite 1300
                                                                                                            Santa Monica, CA 90401
                                                                      21
                                                                                                            BASKIN RICHARDS PLC
                                                                      22                                    Alan S. Baskin (Pro Hac Vice Being Submitted)
                                                                                                            2901 N. Central Avenue, Suite 1150
                                                                      23                                    Phoenix, AZ 85012
                                                                                                            Attorneys for Defendant Alpine Securities Corp.
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                                                                                        NOTICE OF MOTION AND MOTION TO DISMISS UNDER RULE 12(B)(6)
                                                                    Case 3:17-cv-02583-CAB-WVG Document 20 Filed 03/13/18 PageID.393 Page 3 of 3



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                                                                       2                            CERTIFICATE OF SERVICE
                                                                       3         I hereby certify that on March 13, 2018, I electronically filed Defendant
                                                                       4   Alpine Securities Corporation’s Notice of Motion and Motion To Dismiss
                                                                       5   Complaint Under Rule 12(B)(6) and Request for Judicial Notice In Support of
                                                                       6   Defendant Alpine Securities Corporations Motion to Dismiss Under Rule
                                                                       7   12(B)(6) with the Clerk of Court using the CM/ECF system, which sent
                                                                       8   notification of such filing to the following:
                                                                       9         Brett G. Evans brett@eklawpc.com
                                                                      10         William J. Caldarelli wjc@chpllaw.com, stb@chpllaw.com
                                                                      11         Paul Murphy pmurphy@murphyrosen.com
                                                                      12   and I hereby certify that I have mailed the document by United States Mail, first-
                   TELEPHONE 310-899-3300; FACSIMILE 310-399-7201
                       100 WILSHIRE BOULEVARD, SUITE 1300




                                                                      13   class postage prepaid, to the following non-CM/ECF participants:
MURPHY ROSEN LLP
                           SANTA MONICA, CA 90401-1142




                                                                      14         Alan S. Baskin
                                                                      15         BASKIN RICHARDS PLC
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                                                                      17         Phoenix, AZ 85012
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                                                                      19                                   By:     /s/ Paul D. Murphy
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                                                                                        NOTICE OF MOTION AND MOTION TO DISMISS UNDER RULE 12(B)(6)
